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                                                          Notice Recipients
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Case: 4:12−bk−12109                            Form ID: 3180W                            Total: 87


Recipients of Notice of Electronic Filing:
ust         U.S. Trustee (ust)        USTPRegion13.LR.ECF@usdoj.gov
tr          Joyce Bradley Babin          ecfmail@13ark.com
aty         Jennifer Wyse         ARECF@wilson−assoc.com
aty         Josh E. McHughes           josh@mchugheslaw.com
aty         Robert R. Danecki          Robert@danecki.com
                                                                                                                              TOTAL: 5

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Bobby R Jackson, III          9219 Hwy 229            Traskwood, AR 72167
jdb         Sharon R Jackson          9219 Hwy 229            Traskwood, AR 72167
cr          Wells Fargo Bank, N.A..           Payment Processing           1 Home Campus, Mac X2302−04C                 Des Moines, IA
            50328
cr          The Gastro−Intestinal Center, Inc.          c/o Josh W. Fink          P.O. Box 7730         Little Rock, AR 72217
cr          Rick H. Young          1517 Military Road           Benton, AR 72015
aty         Stephen P. Lamb          Attorney at Law           PO Box 1027           Beebe, AR 72012−1027
4910214     ACM          P.O. Box 250531           Little Rock, AR 72225−0531
4910215     Adams Pest Control           12324 Stagecoach Road            Little Rock, AR 72209
4910216     Arctech, Inc.        P.O. Box 10546           Conway, AR 72034
5886459     Arkansas Anesthesia Associates PLLC              P.O. Box 1131           Searcy, AR 72145−1131
4910217     Arkansas Health Group Anesthesia             904 Autumn Road, #500             Little Rock, AR 72211
4910218     Baptist Health Medical Center          c/o Service Finance           11900 Colonel Glenn Road            Little Rock, AR
            72210
4910220     CCB Credit Services, Inc.          5300 S. 6th Street         Springfield, IL 62703
4910219     Capital One Bank          c/o Stephen Lamb            P.O. Box 1027          Beebe, AR 72012
4910213     Chex Systems, Inc.          7805 Hudson Road, Suite 100             Saint Paul, MN 55125
4910221     Complete Care          P.. Box 13440          Maumelle, AR 72113−0440
4910631     Credit Acceptance          25505 West 12 Mile Rd             Suite 3000        Southfield, MI 48034
4910222     Credit Acceptance Corporation           c/o Josh E. McHughes             P.O. Box 2180         Little Rock, AR 72203
4910223     Credit Control Company, Inc.           P.O. Box 55165           Little Rock, AR 72215
4910224     Department Work Force Services             Benefit Payment Control            P.O. Box 8060         Little Rock, AR
            72203
4910225     Discover         P.O. Box 15410          Wilmington, DE 19850
4910226     Disney Movie Club           P.O. Box 758           Neenah, WI 54957−0758
4910227     Donald D. Cobb          6600 Baseline Road            Little Rock, AR 72209
4910228     Donald S. Walsh M.D.           Saline Orthopedic Group, P.A.             105 McNeil Street         Benton, AR 72015
4910212     Equifax Information Service Center            Attn: Dispute Resolution Department           P.O. Box 105873           Atlanta,
            GA 30348
4910210     Experian Information Solutions           Attn: Dispute Department            701 Experian Parkway           P.O. Box
            2002        Allen, TX 75013
4910229     Financial Recovery Services, Inc.          P.O. Box 385908            Minneapolis, MN 55438−5908
4910230     Fingerhut         P.O. Box 166         Newark, NJ 07101−0166
4910231     First Collection Services         10925 Otter Creek E. Blvd.           Mabelvale, AR 72103
4910232     First Premier Bank         P.O. Box 5524           Sioux Falls, SD 57117−5524
4910233     First Security Bank         P.O. Box 1009           Searcy, AR 72145
4910235     GEMB/ JC Penney             P.O. Box 981402           El Paso, TX 79998
4910234     Galaxy Asset Purchasing, LLC            c/o Leading Edge Recovery Solutions             5440 North Cumberland Avenue,
            Suite 300        Chicago, IL 60656−1490
4910237     HSBC          c/o Professional Recovery Service, Inc.           P.O. Box 1880          Voorhees, NJ 08043
4910238     HSBC/Household Bank              P.O. Box 5222           Carol Stream, IL 60197−5222
4910236     Hibernia National Bank          P.O. Box 61336            New Orleans, LA 70161
4910239     I.C. Systems, Inc.        P.O. Box 64887           Saint Paul, MN 55164−0887
4910240     John W. Fink         P.O. Box 7730           Little Rock, AR 72217
4910241     Joseph K. Buchman, MD             500 S. University, #720           Little Rock, AR 72203
4910242     Joseph M. Mazurek, DDS MS              6500 Baseline Road            Little Rock, AR 72209
4974441     LVNV Funding, LLC its successors and assigns as               assignee of GE Capital         Resurgent Capital
            Services        PO Box 10587           Greenville, SC 29603−0587
4910243     Little Rock Anesthesia Services, PLLC             500 South University, Suite 505          Little Rock, AR 72205
4910247     MSCB           1410 Industrial Park Road           Paris, TN 38242
4910248     MSCB, Inc.          P.O. Box 1567          Paris, TN 38242−1567
4910244     Markham Emergency Physicians              P.O. Box 98657            Las Vegas, NV 89193
4910245     Metlife        c/o Bank of America           P.O. Box 2278           Norfolk, VA 23501−2278
5886463     Mid−South adjustment Co., Inc.           316 West 6th Street, Suite A           Pine Bluff, AR 71601−4217
4910246     Midland Credit Management             P.O. Box 60578           Los Angeles, CA 90060
4912596     Midland Credit Management, Inc.             2365 Northside Drive, Suite 300           San Diego, CA 92108
4910249     NCO Financial Systems            P.O. Box 13867, Dept. 84            Philadelphia, PA 19101−3867
4910250     North Shore Agency , Inc.          270 Spagnoli Road            Suite 111        Melville, NY 11747
4910251     Orchard Bank          HSBC Card Services             P.O. Box 80084          Salinas, CA 93912−0084
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4910257   PYOD, LLC          c/o Allied Interstate       3000 Corporate Exchamnge Drive, 5th Floo               Columbus, OH
          43231
4974443   PYOD, LLC its successors and assigns as assignee            of B−Line, LLC             Resurgent Capital Services      PO
          Box 19008         Greenville, SC 29602
4910252   Portfolio Recovery Associates         P.O. Box 12914            Norfolk, VA 23541
4918963   Portfolio Recovery Associates, LLC          POB 12914            Norfolk VA 23541
4910253   Portfolo Recovery Associates, LLC          P.O. Box 12914             Norfolk, VA 23541
4910254   Powell Sanitation       P.O. Box 208          Bauxite, AR 72011
5886460   Professional Consulting Services, Inc.        P.O. Box 95010             North Little Rock, AR 72190−2010
4910255   Professional Recovery Services, Inc.        P.O. Box 1880             Voorhees, NJ 08043
4910256   Prospective Health LTD          1304 Military Road           Benton, AR 72015
4928706   Quantum3 Group LLC as agent for            Galaxy Asset Purchasing LLC                PO Box 788        Kirkland, WA
          98083−0788
4928749   Quantum3 Group LLC as agent for            Galaxy Portfolios LLC             PO Box 788         Kirkland, WA
          98083−0788
4910258   Radiology Associates, P.A.         500 South University, Suite 604             Little Rock, AR 72205
4910259   Regions Bank         Attn: Recovery Department            P.O. Box 10063             Birmingham, AL 35202
4910260   Resurgent Capital Services        P.O. Box 10587           Greenville, SC 29603
5886461   Rex Luttrell, M.D.       5 Medical Park Drive, Ste #308             Benton, AR 72015
5886462   Saline Memorial Hospital         #1 Medical Park Drive            Benton, AR 72015
4910261   Saline Memorial Hospital         P.O. Box 2830           Benton, AR 72018
5886465   Saline Memorial Hospitalist Group          P.O. Box 1615            Searcy, AR 72145
4910580   Scot Kerr       P.O. Box 1472          Stuttgart, AR 72160
4910262   Soutwest Hospital        11404 Hwy I−30            Little Rock, AR 72209
4910263   St. Vincent Health Systems         Two St. Vincent Circle            Little Rock, AR 72205
4910267   TRS Recovery Services, Inc.         P.O. Box 4812           Houston, TX 77210
5886464   The Dowler Law Firm           P.O. Box 803          Benton, AR 72018
4910264   The Gastro−Intestinal Center         405 N University           Little Rock, AR 72205
4910265   The Law Office of Alan Pritchard, PLLC            P.O. Box 910            Paris, TN 38242
4910266   The Womens Clinic          500 S University 414           Little Rock, AR 72205
4910211   Trans Union Corporation          Attn: Dispute Department            2 Baldwin Place         P.O. Box 1000         Chester,
          PA 19022
5145434   WELLS FARGO BANK N.A.                 ATTENTION BANKRUPTCY DEPARTMENT                             /MAC
          #D3347−014          3476 STATEVIEW BLVD                  FORT MILL, SOUTH CAROLINA 29715
4910268   Wells Fargo Home Mortgage            P.O. Box 1230           Charlotte, NC 28201
4910269   Zales       P.O. Box 8181         Johnson City, TN 37615
                                                                                                                         TOTAL: 82
